Case 2:19-cr-00047-RAJ-LRL Document 422 Filed 02/23/22 Page 1 of 2 PageID# 4529
                                                                             FILED
                                                                        IN OPEN COURT


                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                         FEB 2 3 2022
                                   Norfolk Division
                                                                    CLERK,U.S. DISTRICT CUURT
                                                                          NORFOLK,VA
 UNITED STATES OF AMERICA,

                  Plaintiff,

 V.                                               CRIMINAL ACTION NO.2:19-cr-47

 AGHEE WILLIAM SMITH,H,

                  Defendant.


                                   VERDICT FORM


 WE,THE JURY,FIND THE DEFENDANT AGHEE WILLIAM SMITH,H:



 COUNT 1: CONSPIRACY TO COMMTpMAIL AND WIRE FRAUD
                   GUILTY      V                      NOT GUILTY,




 COUNT 2; CONSPIRACY TO COMMID-MAIL AND WIRE FRAUD

                   GUILTY                             NOT GUILTY




 COUNT 8: WIRE FRAUD

                   GUILTY                             NOT GUILTY




 COUNT 9: WIRE FRAUD

                   GUILTY                             NOT GUILTY
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                                                               Pursuant to the E-Govemment Act,
                                                              fhe original of this page has been filed
COUNT 16: WIRE FRAUD                                             '.•n'l'!'' sea' in the Oerk's Office.


                  GUILTY                       NOT GUILTY




COUNT 17: WIRE FRAUD

                  GUILTY                       NOT GUILTY




 DATE:                                   FOREPERSON'S SIGNATURE:

                                                     redacted COPY

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